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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

PAUL JONES,

Plaintiff,

Vv.

SYNCHRONY FINACIAL d/b/a
SYNCHRONY BANK et al

Defendant.

Civil Action No. 3:24-C V-30027

Joint Statement to the Court

Introduction

This Joint Statement is submitted by Plaintiff, Paul Jones, and the Defendants in [Case Name].

Settlement Proposal

The Plaintiff sent a settlement proposal to all Defendants on May 10, 2024. As of May 13, 2024,

no response has been received from defendants.

Discovery Schedule

The parties have discussed the discovery schedule proposed by the Defendants in their Joint

Statement.

e Amend Pleadings: Plaintiff objects to changing the deadline to amend pleadings from

November 5, 2024, to June 25, 2024. Plaintiff requires discovery to gather sufficient

information to properly amend the complaint.

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e Admissions and Production of Documents: Plaintiff objects to changing the deadline

for admissions and production of documents from November 2024 to August 2024.

e Depositions: Plaintiff objects to the proposed deadline of November 25, 2025, for

completing depositions other than expert depositions from January 2025.

¢ Dispositive Motions: Plaintiff objects to changing the deadline for filing dispositive
motions, such as motions for summary judgment, to January 31, 2025. Plaintiff argues
that, as a pro se litigant (representing himself without an attorney), he requires additional
time due to the lack of support staff to assist with drafting documents, responding to
discovery, and taking depositions. Plaintiff proposes maintaining the original deadline of

September 18, 2025.
e See Plaintiff and Defendants Statement Proposals attached as Exhibit 1

Conclusion

The parties agree on the proposed deadline for depositions. However, Plaintiff objects to the
proposed deadlines for amending pleadings, admissions/production of documents, and

dispositive motions.

We respectfully request the Court to consider the arguments presented and issue a revised

discovery schedule that balances the needs of both parties.

Plaintiff: Paul Jones /s/ Paul Jones Dated: May 13, 2024
79 Thompson Street

Springfield, Ma 01109

617-939-5417

Pj22765@gmail.com
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CERTIFICATE OF SERVICE

I, the Plaintiff Paul Jones, hereby certify that on this May 13, 2024, a copy of the Attached

Document was served via electronic mail to All Attorneys of Record.

Paul Jones Prose /s/ Paul Jones Dated: May 13, 2024
79 Thompson Street

Springfield, Ma 01109

617-939-5417

Pj22765@gmail.com

David Alan Casale
Reed Smith LLP

Global Customer Centre
20 Stanwix Street
Pittsburgh, PA 15222
412-288-5937

Fax: 412-288-3063

Email: deasale@reedsmith.com

Hale Yazicioglu Lake
Hinshaw & Culbertson LLP
53 State Street

27th Floor

Boston, MA 02109
617-213-7000

Email: hlake@hinshawlaw.com
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Elaine Carey

Hinshaw & Culbertson LLP
53 State Street

Ste 27th Floor

Boston, MA 02109
617-213-6793

Fax: 617-213-7001

Email: ecarey@hinshawlaw.com

Christopher J. Williamson
Ratchford Law Group, P.C.
89 Newbury Street

Suite 106

Danvers, MA 01923
978-834-6600

Email: cwilliamson@ratchfordlawgroup.com

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